DATE: July 6, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Justin Godfrey Fahringer
              v. Commonwealth of Virginia
              Record No. 0370-18-3
              Opinion rendered by Judge Chafin on
              April 30, 2019
              **Delayed appeal to Supreme Court of Virginia awarded on August 6, 2020

          2. Jessica Danielle Barrow
              v. Commonwealth of Virginia
              Record No. 0769-20-3
              Opinion rendered by Judge Petty on
              April 27, 2021

          3. Stephen James Kilpatrick
             v. Commonwealth of Virginia
             Record No. 2043-19-3
             Opinion rendered by Judge Huff on
              May 4, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Justin Godfrey Fahringer
    v. Commonwealth of Virginia
   Record No. 0370-18-4
    Opinion rendered by Judge Chafin
     on April 30, 2019
    Refused (201338)
    **Delayed appeal awarded to Supreme Court on August 6, 2020

2. Karen Rompalo
   v. Commonwealth of Virginia
   Record No. 1717-18-4
   Opinion rendered by [F11]Judge AtLee
    on June 2, 2020
   Judgment of Court of Appeals affirmed by published order entered on
      May 20, 2021 (200941)

3. Shannon Kathleen Smith Hurt Lively
   v. Paulette Holland Smith, et al.
   Record No. 1929-19-3
   Opinion rendered by Judge Malveaux
     on October 20, 2020
   Refused (201399)

4. Troy McGowan
   v. Commonwealth of Virginia
   Record No. 0436-20-1
   Opinion rendered by Senior Judge Annunziata
     on November 24, 2020
   Refused (201535)
       On June 17, 2021 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Samantha Ann Nicholson
       v. Commonwealth of Virginia
       Record No. 0371-18-2
       Merit panel unpublished order rendered by Chief Judge Decker
         on February 6, 2020
       Judgment of Court of Appeals reversed and matter remanded to this Court for
          further proceedings
       (200356)
